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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                 §
In re:                                           §      chapter 11
                                                 §
VANGUARD NATURAL RESOURCES,                      §      Case No. 17-30560
LLC, et al.,1                                    §
                                                 §      (Jointly Administered)
               Reorganized Debtors.              §
                                                 §

    SECOND INTERIM AND FINAL APPLICATION OF PAUL HASTINGS LLP,
   COUNSEL TO THE REORGANIZED DEBTORS, FOR COMPENSATION FOR
SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
           FROM FEBRUARY 1, 2017 THROUGH AUGUST 1, 2017

         A HEARING WILL BE CONDUCTED ON THIS MATTER ON NOVEMBER 8, 2017, AT
         1:30 P.M., PREVAILING CENTRAL TIME, IN COURTROOM 404, 515 RUSK STREET,
         HOUSTON, TEXAS 77002.

         IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN WRITING,
         SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS PLEADING. UNLESS
         OTHERWISE DIRECTED BY THE COURT, YOU MUST FILE YOUR RESPONSE
         WITH THE CLERK OF THE BANKRUPTCY COURT WITHIN 21 DAYS FROM THE
         DATE YOU WERE SERVED WITH THIS PLEADING. YOU MUST SERVE A COPY OF
         YOUR RESPONSE ON THE PERSON WHO SENT YOU THE NOTICE; OTHERWISE,
         THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND GRANT THE
         RELIEF REQUESTED.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


Name of applicant:                                              Paul Hastings LLP (“Paul
                                                                Hastings”)
Name of client:                                                 Vanguard Natural Resources,
                                                                LLC, et al.

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, are: Vanguard Natural Resources, LLC (1161); Eagle Rock
Acquisition Partnership, L.P. (6706); Eagle Rock Acquisition Partnership II, L.P. (0903); Eagle
Rock Energy Acquisition Co., Inc. (4564); Eagle Rock Energy Acquisition Co. II, Inc. (3364);
Eagle Rock Upstream Development Company, Inc. (0113); Eagle Rock Upstream Development
Company II, Inc. (7453); Encore Clear Fork Pipeline LLC (2032); Escambia Asset Co. LLC
(3869); Escambia Operating Co. LLC (2000); Vanguard Natural Gas, LLC (1004); Vanguard
Operating, LLC (9331); VNR Finance Corp. (1494); and VNR Holdings, LLC (6371). The
location of the Debtors’ service address is: 5847 San Felipe, Suite 3000, Houston, Texas 77057.
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Applicant’s role in case                                         Counsel to the Debtors and
                                                                 Debtors in Possession
Indicate whether this is an interim or a final application:      Interim and Final
Effective date of order approving professional’s retention:      March 1, 2017 nunc pro tunc
                                                                 February 1, 2017 [Docket No.
                                                                 281]
Petition date:                                                   February 1, 2017
Interim period covered by this Application:                      May 1, 2017 through and
                                                                 including August 1, 2017 (the
                                                                 “Interim Fee Period”)
Final period covered by this Application                         February 1, 2017 through and
                                                                 including August l, 2017 (the
                                                                 “Final Fee Period”)
Time period covered by prior applications:                       February 1, 2017 through April
                                                                 30, 2017
Total fees awarded in all prior applications:                    $4,329,278.25
Amount of retainer received in case:                             $78,828.24
Total fees applied for in this Application and in all prior      $9,717,525.00
applications (including any retainer amounts applied or to be
applied):
Total interim fees applied for in this Application:              $5,388,246.752
Total interim professional fees requested in this Application:   $5,198,826.75
Total interim professional hours covered by this Application:    6,701.50
Average hourly rate for professionals for Interim Fee Period:    $770.27
Total interim paraprofessional fees requested in this            $189,420.00
Application:
Total interim paraprofessional hours covered by this             544.90
Application:
Average hourly rate for paraprofessionals for Interim Fee        $275.45
Period:


2
   As a courtesy to the Reorganized Debtors, Paul Hastings voluntarily reduced its fees by
$134,482 during the Final Fee Period. Moreover, while Paul Hastings instituted firm-wide rate
adjustments effective January 1 and June 1, 2017, Paul Hastings, as a courtesy to the Debtors,
did not adjust its hourly rates in the chapter 11 cases, resulting in a savings to the Debtors’
estates of $1,119,390.50. The fees that Paul Hastings voluntarily reduced or adjusted were
reasonable, and Paul Hastings reserves the right to seek payment of these fees based on the facts
and circumstances of these cases, including, without limitation, if objections are interposed to the
allowance of Paul Hastings’ fees and expenses.



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Reimbursable expenses sought in this Application for Interim $158,456.05
Fee Period:
Total allowed expenses to date:                                    $167,084.70
Blended rate in this Application for all timekeepers for           $743.583
Interim Fee Period and Final Fee Period, respectively:             $755.493
Interim compensation sought in this Application already paid       $925,844.44
pursuant to monthly compensation order but not yet allowed:
Interim expenses sought in this Application already paid           $74,155.91
pursuant to a monthly compensation order but not yet
allowed:
Number of professionals included in this Application for           60, including 16 professionals
Interim Fee Period:                                                whose fees Paul Hastings
                                                                   voluntarily waived in full, and an
                                                                   additional 10 professionals
                                                                   whose fees were waived in part
Number of professionals billing fewer than 15 hours to the         24, including 16 professionals
case during the Interim Fee Period:                                whose fees Paul Hastings
                                                                   voluntarily waived in full
Total of payments made to administrative claimants (other          See monthly operating reports
than applicant) during Final Fee Period:
Are any rates higher than those approved or disclosed at           No
retention? If yes, calculate and disclose the total
compensation sought in this application using the rates
originally disclosed in the retention application:
If a plan has been proposed, total to be paid to unsecured         The Plan provides for
creditors under the plan:                                          distributions to holders of
                                                                   general unsecured claims from a
                                                                   cash pool of $3.75 million or
                                                                   distributions of new common
                                                                   stock and a rights offering. In
                                                                   addition, the class of Trade
                                                                   Claims will receive distributions
                                                                   from a cash pool of $3 million.
If a plan has been proposed, percentage dividend to                The amount of any unsecured
unsecured creditors under the plan:                                creditor’s ultimate recovery is
                                                                   unknown as of the date of this
                                                                   Application.
Date of confirmation hearing:                                      July 18, 2017
Indicate whether plan has been confirmed:                          Yes

3
    The blended rate reflects the voluntarily reduced fees divided by the total hours billed.



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       Paul Hastings LLP (“Paul Hastings”), counsel to the reorganized debtors in the above-

captioned cases (collectively, the “Reorganized Debtors”), submits this second interim and final

application (this "Application") for allowance of compensation for professional services provided to

Vanguard Natural Resources, LLC and its affiliated debtors, as debtors in possession (collectively,

“Vanguard” or the “Debtors”), during the period from May 1, 2017 through and including August 1,

2017 (the “Interim Fee Period”) in the amount of $5,388,246.75 and reimbursement of actual and

necessary expenses in the amount of $158,456.05 and final allowance of compensation for

professional services provided during the period from February 1, 2017 through and including

August 1, 2017 (the “Final Fee Period”) in the amount of $9,717,525.00 and reimbursement of

actual and necessary expenses in the amount of $325,540.75. In support of this Application, Paul

Hastings submits the declaration of Chris L. Dickerson, a partner of Paul Hastings (the “Dickerson

Declaration”), which is attached hereto as Schedule 1 and incorporated herein by reference. In

further support of this Application, Paul Hastings respectfully states as follows:

                                            JURISDICTION

       1.        This Court has jurisdiction to consider this Application under 28 U.S.C. §§ 157 and

1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and this

Application in this District is proper under 28 U.S.C. §§ 1408 and 1409.

       2.        The bases for the relief requested herein are sections 330 and 331 of title 11 of the

United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), Rule 2016-1 of the Bankruptcy Local Rules of the United

States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local Rules”), the

Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals [Docket No. 280] (the “Interim Compensation Order”), and Article II.A. of the Second



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Amended Joint Plan of Reorganization of Vanguard Natural Resources LLC, et al., Pursuant to

chapter 11 of the Bankruptcy Code, dated July 17, 2017 [Docket No. 1096] (as supplemented by the

plan supplement, the “Plan”).

       3.         Paul Hastings consents to this Court's authority to enter final orders on this matter.

                                             BACKGROUND

       4.         On February 1, 2017 (the “Petition Date”), the Debtors commenced filing voluntary

petitions for relief under chapter 11 of the Bankruptcy Code in this Court. The factual background

regarding the Debtors, including their business operations, their corporate and capital structure, their

capital raising and restructuring activities, and the events leading to the Debtors’ decision to file the

chapter 11 cases, is set forth in the Declaration of Richard A. Robert, Chief Financial Officer of

Vanguard Natural Resources, LLC, in Support of chapter 11 Petitions and First-Day Motions

[Docket No. 6].

       5.         On February 3, 2017, the Court entered an order [Docket No. 54] authorizing the

joint administration and procedural consolidation of the chapter 11 cases pursuant to Bankruptcy

Rule 1015(b). No entity has requested the appointment of a trustee or examiner in the chapter 11

cases. On February 14, 2017, the United States Trustee for the Southern District of Texas (the “U.S.

Trustee”) appointed an official committee of unsecured creditors pursuant to section 1102 of the

Bankruptcy Code [Docket No. 172] (the “Committee”).

       6.         On March 1, 2017, the Court entered the Interim Compensation Order, which sets

forth the procedures for interim compensation and reimbursement of expenses for all professionals

in the chapter 11 cases.

       7.         On July 18, 2017, the Court confirmed the Plan and entered the Order Confirming

Debtors’ Modified Second Amended Joint Plan of Reorganization under chapter 11 of the




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Bankruptcy Code [Docket No. 1109] (the “Confirmation Order”). On August 1, 2017 (the

“Effective Date”), all conditions to the effectiveness of the Plan had been satisfied or waived, and

the Plan was substantially consummated.

       8.        Pursuant to the Confirmation Order and Article II.A. of the Plan, all final requests

for payment of professional claims are to be filed with the Court on or before September 30, 2017.

Paul Hastings accordingly submits this second interim and final fee application for services rendered

through the Effective Date.

                                   PRELIMINARY STATEMENT

       9.        Vanguard commenced the chapter 11 cases in the midst of a liquidity crisis. From

that point forward, Paul Hastings worked tirelessly to assist Vanguard in its efforts to stabilize

business operations, obtain new capital to fund its emergence from chapter 11, and reach consensus

with stakeholders on the terms of the Plan. In only six months, Vanguard was able to emerge from

chapter 11 in accordance with its Plan that (a) was approved by all voting classes of creditors, (b)

provided all creditors and equity holders with a recovery, (c) increased liquidity available to the

Reorganized Debtors by approximately $95 million, and (d) reduced the funded debt on the balance

sheet by more than $700 million.

       10.       With Paul Hastings’ assistance, Vanguard obtained committed new-money

investments that provided an aggregate of $275 million in new capital to fund Vanguard’s

emergence from chapter 11. Paul Hastings also spent significant time during the Final Fee Period

negotiating the Plan with Vanguard’s various stakeholders and seeking its confirmation. As a result

of these efforts, the Plan was confirmed by the Court with the support of Vanguard’s first lien

secured lenders, second lien secured noteholders, unsecured senior noteholders, the Committee, and

the ad hoc equity committee.




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       11.         Additionally, Paul Hastings advised Vanguard on a series of value-maximizing

asset sales. Among other items, Paul Hastings obtained the Court’s approval of the sale of assets in

Glasscock County, Texas (the “Glasscock Assets”) [Docket No. 429]. Paul Hastings worked with

Vanguard and its other advisors to conduct an auction of the Glasscock Assets that ultimately

resulted in a sale that generated approximately $100 million in cash proceeds. The sale of the

Glasscock Assets was a critical component of the funding needed for the Debtors’ exit from chapter

11.

       12.         Paul Hastings also had a leading role in litigation brought by certain parties in

connection with the Plan and the sale of the Glasscock Assets. Indeed, the litigation regarding the

Glasscock Assets initiated by Encana Oil & Gas (USA) Inc. (“Encana”) required substantial legal

work by Paul Hastings and its attorneys, including numerous legal briefs and advocacy on behalf of

Vanguard at multiple court hearings.

       13.         In addition, the Plan and the Debtors’ enterprise valuation for the Plan were

challenged by the ad hoc equity committee during the chapter 11 cases. Paul Hastings defended

numerous depositions, took the deposition of the financial advisor to the ad hoc equity committee,

and reviewed and produced thousands of pages of documents in connection with the ad hoc equity

committee litigation. Paul Hastings also advised Vanguard in negotiations with the ad hoc equity

committee regarding a settlement that was incorporated into the Plan. As a result of these efforts,

the ad hoc equity committee supported the Plan at confirmation.

       14.       The Debtors’ cases were large, involved dozens of active stakeholders, and

presented myriad complex legal issues, including litigation over issues of first impression. Given the

size and complexity of the Debtors’ cases, and the successful negotiation and implementation of a

consensual Plan that provided a recovery to all stakeholders, including equity, Paul Hastings




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believes that the compensation and expense reimbursement requested in this Application is

reasonable and appropriate, commensurate with the scope, nature and complexity of the chapter 11

cases, and should be allowed.

                                   PAUL HASTINGS’ RETENTION

       15.         On March 1, 2017, the Court entered the Order Authorizing Employment and

Retention of Paul Hastings LLP as Counsel Nunc Pro Tunc to the Petition Date [Docket No. 281]

(the “Retention Order”) attached hereto as Schedule 2 and incorporated by reference. The Retention

Order, the Plan, and the Confirmation Order authorize the Reorganized Debtors to compensate Paul

Hastings at the firm’s hourly rates charged for services of this type and to reimburse Paul Hastings

for the firm’s actual and necessary out-of-pocket expenses incurred, subject to application to this

Court, in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the Bankruptcy Local

Rules. The particular terms of Paul Hastings’ engagement are detailed in the engagement letter,

dated August 9, 2016, by and between Paul Hastings and the Debtors, attached hereto as part of the

Retention Order.

       16.         The Retention Order authorizes Paul Hastings to provide the following services to

the Debtors:

             (a)    advising the Debtors of their rights, powers, and duties as debtors and debtors in
                    possession while operating and managing their businesses and properties under
                    chapter 11 of the Bankruptcy Code;

             (b)    preparing on behalf of the Debtors necessary and appropriate applications,
                    motions, proposed orders, other pleadings, notices, schedules, and other
                    documents, and reviewing financial and other reports to be filed in the chapter 11
                    cases;

             (c)    advising the Debtors concerning, and preparing responses to, applications,
                    motions, other pleadings, notices, and other papers that may be filed by other
                    parties in the chapter 11 cases;

             (d)    advising the Debtors with respect to, and assisting in the negotiation and
                    documentation of, financing agreements and related transactions;


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             (e)    reviewing the nature and validity of liens asserted against the Debtors' property
                    and advising the Debtors concerning the enforceability of such liens;

             (f)    advising the Debtors regarding their ability to initiate actions to collect and
                    recover property for the benefit of their estates;

             (g)    advising and assisting the Debtors in connection with any potential asset sales and
                    property dispositions;

             (h)    advising the Debtors concerning executory contract and unexpired lease
                    assumptions, assignments, and rejections as well as lease restructurings and
                    recharacterizations;

             (i)    advising the Debtors in connection with the formulation, negotiation, and
                    promulgation of a plan or plans of reorganization, and related transactional
                    documents;

             (j)    assisting the Debtors in reviewing, estimating, and resolving claims asserted
                    against the Debtors’ estates;

             (k)    commencing and conducting litigation necessary and appropriate to assert rights
                    held by the Debtors, protect assets of the Debtors’ chapter 11 estates, or otherwise
                    further the goal of completing the Debtors’ successful reorganization; and

             (l)    providing non-bankruptcy services for the Debtors to the extent requested by the
                    Debtors.

       17.         On July 5, 2017, Paul Hastings filed its first interim fee application for services

rendered during the period from February 1, 2017 through April 30, 2017 [Docket No. 1021]. On

July 28, 2017, the Court entered an order allowing Paul Hastings’ requested fees in the amount of

$4,329,278.25 and expenses in the amount of $167,084.70 [Docket No. 1182].

                           DISINTERESTEDNESS OF PAUL HASTINGS

       18.         To the best of the Debtors’ knowledge and as disclosed in the Declaration of Chris

L. Dickerson in Support of the Debtors’ Application for Order Authorizing Retention and

Employment of Paul Hastings LLP as Counsel, Effective Nunc Pro Tunc to the Petition Date

[Docket No. 111], as supplemented on April 6, 2017 [Docket No. 519] (together, the “Paul Hastings

Declarations”), (a) Paul Hastings is a “disinterested person” within the meaning of section 101(14)

of the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code, and does not hold or


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represent an interest adverse to the Debtors’ estates and (b) Paul Hastings has no connection to the

Debtors, their creditors, or other parties in interest, except as may be disclosed in the Paul Hastings

Declarations. Paul Hastings may have in the past represented, may currently represent, and likely in

the future will represent parties in interest in connection with matters unrelated to the Debtors in the

chapter 11 cases. In the Paul Hastings Declarations, the firm disclosed its connections to parties in

interest that it has been able to ascertain using its reasonable efforts.

          19.     All services for which Paul Hastings requests compensation were performed for or

on behalf of the Debtors and their estates, and not on behalf of any committee, creditor, or other

entity.

          20.     Paul Hastings has received no payment and no promises of payment from any

source other than the Debtors for services rendered in any capacity during the Final Fee Period.

          21.     There is no agreement or understanding between Paul Hastings and any other

person, other than the attorneys, employees, and staff of Paul Hastings, for the sharing of

compensation received or to be received for services rendered in the chapter 11 cases.

                    REQUESTED COMPENSATION AND REIMBURSEMENT

          22.     By this Application, Paul Hastings requests allowance and payment of

compensation for professional services rendered during the Interim Fee Period in the amount of

$5,388,246.75 and expense reimbursements of $158,456.05. Also by this Application, Paul Hastings

requests final allowance and payment of compensation for professional services rendered during the

Final Fee Period in the amount of $9,717,525.00 and expense reimbursements of $325,540.75.

During the Interim Fee Period and the Final Fee Period, respectively, Paul Hastings attorneys and

paraprofessionals expended a total of 7,246.40 and 12,862.50 hours for which compensation is

requested.




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        23.        As of the date hereof, Paul Hastings has received payment of $925,844.44 for

services provided and $74,155.91 for reimbursement of expenses for the Interim Fee Period.

Accordingly, by this Application, and to the extent such amounts have not been paid by the time of

the hearing on this Application, Paul Hasting seeks payment of the remaining $4,546,702.45, which

amount represents the entire amount of the unpaid fees and expenses incurred during the Interim Fee

Period and the Final Fee Period.4

                                  FEES AND EXPENSES INCURRED

   A.         Customary Billing Disclosures.

        24.        The fees charged by Paul Hastings in the chapter 11 cases were billed in accordance

with its existing billing rates in effect during the Final Fee Period, with two exceptions: (a) Paul

Hastings discounted the hourly rates of certain attorneys as a courtesy to the Debtors to address

certain issues specific to the chapter 11 cases, and (b) while Paul Hastings instituted firm-wide rate

adjustments effective January 1 and June 1, 2017, Paul Hastings, as a courtesy to the Debtors, did

not adjust its hourly rates in the chapter 11 cases.5 Paul Hastings’ billing rates for attorneys

rendering services in the chapter 11 cases ranged from $495 to $1,225 per hour. The firm’s

customary rates are reasonable based on the customary compensation charged by comparably skilled

practitioners in comparable bankruptcy and nonbankruptcy cases in a competitive national legal

market.



   4
     As disclosed in the Retention Application, Paul Hastings received $78,828.24 from the
   Debtors before the Petition Date as an advance for Paul Hastings’ fees and expenses. The
   proposed order approving this Application will provide for the payment of fees to Paul Hastings
   net of this advance payment, which will be applied to allowed post-petition fees.
   5
     Paul Hastings reserves the right to seek payment of any fees that were discounted, adjusted or
   waived, based on the facts and circumstances of these cases, including, without limitation, if
   objections are interposed to the allowance of Paul Hastings’ fees and expenses.



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        25.        A breakdown of the firm’s blended billing rates by type of professional, including

the blended rates for timekeepers who billed to (i) non-bankruptcy matters and (ii) the Debtors, is

attached hereto as Exhibit A. An itemization by timekeeper covering all services performed during

the Interim Fee Period and the Final Fee Period, respectively, is attached hereto as Exhibit B.

   B.         Fees Incurred.

        26.        Paul Hastings maintains computerized records, in the form of monthly statements,

of the time spent by all Paul Hastings’ attorneys and paraprofessionals in connection with its

representation of the Debtors. The monthly statements are in the same form regularly used by Paul

Hastings to bill its clients for services rendered and include the date that the services were rendered,

a detailed, contemporaneous narrative description of the services provided, the amount of time spent

for each service, and the designation of the professional who performed the service. A true and

correct copy of the monthly statements for Paul Hastings’ services provided during the Interim Fee

Period is attached hereto as Schedule 3.

   C.         Expenses Incurred.

        27.        Consistent with Paul Hastings’ policy and practice, Paul Hastings seeks

reimbursement for charges and disbursements incurred as out-of-pocket expenses in rendering

necessary services to the Debtors and their estates. These charges and disbursements include, among

other things, costs for photocopying, travel, business meals, computerized research, messengers,

couriers, postage, secretary of state and government filing fees, and fees related to hearings. Paul

Hastings incurred a total of $158,456.05 and $325,540.75 in expenses on behalf of the Debtors

during the Interim Fee Period and the Final Fee Period, respectively.

                    SUMMARY OF SERVICES DURING INTERIM FEE PERIOD

        28.        As discussed above, during the Interim Fee Period, Paul Hastings provided

extensive, necessary professional services to the Debtors in connection with the chapter 11 cases.


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These services often were performed under severe time constraints and were necessary to address a

multitude of critical issues both unique to the chapter 11 cases and typically faced by large corporate

debtors in similar cases of this magnitude and complexity. In total, during the Interim Fee Period,

Paul Hastings filed 160 docket entries, most of which included several documents each.

       29.         The following is a summary of the services rendered by Paul Hastings during the

Interim Fee Period, organized in accordance with the U.S. Trustee's project categories.6 A schedule

identifying the project categories, the number of hours expended by category, and the aggregate fees

associated with each category is attached hereto as Exhibit D-1. In addition, while Paul Hastings’

services are generally described below, a more detailed description of the actual services performed

is set forth in Paul Hastings’ monthly statements.

             (a)    Case Administration (Task Code B110)
                          Fees: $99,462.50          Total Hours:                 139.00

                     During the Interim Fee Period, Paul Hastings addressed all relevant case issues in
a timely manner and facilitated the administration of the Debtors’ chapter 11 cases. In order to track
deadlines, organize documents, set and manage court hearings, and notify the Debtors and their
advising professionals of upcoming matters, Paul Hastings prepared, maintained, and reviewed the
Court’s docket to create (i) docket updates, (ii) case calendars and checklists, (iii) thirteen hearing
agendas and ten witness and exhibit lists, (iv) regular updates to the list of parties in interest and
master service list, and (v) hearing materials for the court, Paul Hastings attorneys, and various
parties in interest. Moreover, Paul Hastings communicated with the court to schedule and arrange
hearings, including preparing notices of hearing, five motions to continue various motions and
hearings, and other procedural filings, including sixty-three notices of various matters (e.g.,
amendments to documents, proposed orders). Paul Hastings also worked with the Debtors’ noticing
agent to ensure service of pleadings, motions, and notices, including the Disclosure Statement and
Plan, filed in these chapter 11 cases. In addition, Paul Hastings participated in regular calls with the
Debtors’ management and other professionals to discuss the status of the case and strategy in dealing
with pending matters. Paul Hastings also responded to inquiries of the Debtors’ creditors, and other
parties in interest, regarding general issues related to the administration of the chapter 11 cases.

             (b)    Pleadings Review    (Task Code B113)



   6
      Addressed here are only those matters in which Paul Hastings provided 5 or more hours of
   service during the Interim Fee Period.



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                          Fees: $27,832.50              Total Hours: 47.30

                    During the Interim Fee Period, Paul Hastings monitored pleadings filed by
various parties-in-interest in the cases. Paul Hastings analyzed various documents in order to advise
the Debtors with regard to such pleadings, and worked with the Debtors to prepare for informal and
formal objections to filed pleadings as necessary. Paul Hastings also prepared docket updates to
keep the Debtors’ management and board abreast of developments in the case. In that regard, Paul
Hastings prepared daily summaries of key pleadings filed or orders entered to be distributed to
Vanguard’s management, and a weekly case update with copies of pleadings and orders for
Vanguard’s board of directors.

           (c)    Asset Disposition (Task Code B130)
                         Fees: $356,104.00         Total Hours: 466.10

                   During the Interim Fee Period, Paul Hastings worked with the Debtors in their
efforts to market and sell assets, including documentation of asset purchase agreements, notices,
motions and orders, as applicable, related to the disposition of certain assets. Most notably, Paul
Hastings helped the Debtors market and sell the Glasscock Assets. Sale of the Glasscock Assets was
a complex process, complicated by various objections and litigation with Encana. Ultimately,
however, the Debtors and Paul Hastings successfully held an auction where the Glasscock Assets
sold for an aggregate purchase price of $105 million (subject to adjustments), which was
approximately $27 million more than the stalking horse bid on the Glasscock Assets. Tasks Paul
Hastings undertook during the Interim Fee Period to complete this sale process included, but were
not limited to:

                         participating in calls and negotiations with the Debtors, their financial
                          advisors, the Committee, and potential bidders to deal with the legal issues
                          presented by Encana,

                         preparing for and attending multiple hearings to get the sale order
                          approved;

                         helping to populate and maintain a data room for potential bidders,

                         negotiating and drafting the competing purchase agreement with the
                          competing bidder for the Glasscock Assets,

                         overseeing the conduct of the auction of the Glasscock Assets, and

                         obtaining Court approval of the sale of the Glasscock assets at a contested
                          sale hearing.

                   Paul Hastings also helped negotiate a purchase and sale agreement, and filed a
motion for approval of, a private sale of certain assets in Andrews County, Texas (the “Andrews
Assets”) to Diamondback E&P LLC. The sale of the Andrews Assets generated approximately
$13.87 million for the estates. The hearing on the motion to approve the sale of the Andrews Assets


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was opposed by various parties in interest, but, with the help of Paul Hastings, the Court ultimately
approved the sale as in the best interest of the estates.

                    Paul Hastings also assisted the Debtors in their efforts to negotiate and close two
excess asset sales that generated gross proceeds in an aggregate amount in excess of $6 million.

           (d)     Relief from Stay/Adequate Protection Proceedings       (Task Code B140)
                           Fees: $38,258.00            Total Hours:             51.40

                     During the Interim Fee Period, in order to enforce or modify the automatic stay
when appropriate, Paul Hastings communicated with numerous parties regarding the effect of, and
any modifications to, the automatic stay, including for various business disputes and personal injury
claimants. Paul Hastings (i) reviewed and responded to actions by creditors that appeared to be in
violation of the automatic stay, (ii) reviewed and analyzed motions for relief from the automatic
stay, (iii) researched and drafted objections to and/or stipulations resolving certain of the foregoing
motions, and (iv) prepared for hearings and arguments on those motions and stipulations.

           (e)     Meetings and Communications with Creditors (Task Code B150)
                         Fees: $4,260.50            Total Hours: 8.20

                    During the Interim Fee Period, Paul Hastings engaged in regular status
conferences with the Committee and its professionals to discuss the progress of the chapter 11 cases,
as well as issues surrounding various motions and other pleadings filed in the chapter 11 cases.

           (f)     Court Hearings (Task Code B155)
                          Fees: $276,173.50        Total Hours: 455.20

                   During the Interim Fee Period, Paul Hastings prepared for and attended hearings
in the chapter 11 cases including (i) multiple hearings on the motion to approve the sale of the
Glasscock Assets and objections by Encana, (ii) hearings on various motion to lift the stay, including
personal injury claimants requests for stay relief, (iii) the retention of professionals, including
contested hearings related to the retention of Deloitte Tax LLP (“Deloitte”) and Weaver Tidwell
LLP (“Weaver Tidwell”), (iv) the disclosure statement hearing, (v) the hearing to approve
Vanguard’s hedging program, (vi) hearings to approve various settlement agreements, (vii) the
confirmation hearing, (viii) hearings on omnibus claims objections, and (ix) a hearing on requests for
the appointment of an equity committee.

           (g)     Fee / Employment Applications – Paul Hastings and Other Professionals
                   (Task Code B160)
                          Fees: $113,030.00          Total Hours: 172.60

                    During the Interim Fee Period, Paul Hastings conferred with the other
professionals, including ordinary course professionals, regarding their respective applications, and
advised as to the scope of retention, terms of compensation, and other related issues. In the Interim
Fee Period, the Debtors filed notices and declarations for ordinary course professionals, and helped
those various professionals comply with rules and regulations related to their respective retentions.



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Paul Hastings also prepared evidence and witnesses on opposed applications for ordinary course
professionals and retained professionals, including Deloitte and Weaver Tidwell.

                   In addition, Paul Hastings responded to professionals’ inquiries regarding
compensation procedures, payment for post-petition services, and ordinary course professional
compensation procedures, in order to ensure retention of the Debtors’ professionals in compliance
with the Bankruptcy Code. Paul Hastings also tracked compensation requests for the Debtors and
worked with the Debtors to determine how those service providers should be paid. These efforts
have included reviewing and interposing objections regarding professional fees or expenses, where
appropriate, and negotiating reductions in professional fee requests.

                   Moreover, Paul Hastings worked to prepare its own first interim fee application,
and answered questions of other estate professionals on their own interim fee applications. Paul
Hastings also coordinated the first interim fee applications filed by the Debtors’ various
professionals through to approval by preparing for and handling a court hearing on those
applications.

           (h)       Preferences Analysis and Recovery Actions (Task Code B181)
                            Fees: $5,473.50             Total Hours: 8.90

                    During the Interim Fee Period, Paul Hastings, in consultation with the Debtors’
other advisors, prepared a schedule for potential preference actions to be included in the Plan
solicitation materials, and analyzed the merits of certain potential preference actions.

           (i)       Assumption/Rejection of Leases and Contracts (Task Code B185)
                          Fees: $26,434.50              Total Hours: 32.90

                   During the Interim Fee Period, Paul Hastings reviewed contracts and leases, and
advised the Debtors regarding issues related to executory contracts and unexpired leases. The vast
majority of Paul Hastings’ time spent on assumption and rejection issues relate to the adversary
proceeding with Encana regarding the rejection of that lease, the preparation of the contract
assumption and rejection lists that were filed with the Plan supplements, and analyzing and
responding to cure objections by various parties, including Ultra Resources, Inc. (“Ultra”). Paul
Hastings worked with counsel to Ultra to negotiate a briefing schedule that would enable the parties
to address the cure objection in an efficient manner.

           (j)       Other Contested Matters (Task Code B190)
                            Fees: $910,333.00          Total Hours: 1,235.70

                  During the Interim Fee Period, Paul Hastings reviewed and prepared documents
and communicated with parties in interest, including the Committee and the ad hoc equity
committee, relating to contested matters. Contested matters addressed during the Interim Fee Period
included:

                    various motions and objections filed by the ad hoc committee of equity holders,
                     including for extensive discovery;



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                    collecting thousands of documents and producing over 15,000 pages of non-
                     privileged, responsive documents to the ad hoc equity committee on an expedited
                     basis;

                    collecting documents and responding to document and other discovery requests
                     by Encana related to confirmation of the Plan;

                    preparing for and attending multiple depositions noticed by the ad hoc equity
                     committee’s and Encana;

                    responses to requests for documents, other discovery, and settlement discussions
                     with England Resources Group and other small claims settlements;

                    Analyzing and responding to various pro se motions and objections, including a
                     Rule 3018 motion by a pro se litigation

           (k)       Non-Working Travel (Task Code B195)
                          Fees: $51,318.75          Total Hours: 115.90

                   During the Interim Fee Period, Paul Hastings traveled for hearings and meetings
with key creditor constituencies such as the first lien secured lenders, the Committee and the ad hoc
noteholders committee. Paul Hastings has worked to minimize travel costs during these chapter 11
cases by using Houston-based attorneys whenever possible for hearings and meetings with the
Debtors and other constituencies.

           (l)       Business Operations (Task Code B210)
                            Fees: $503,555.50        Total Hours: 759.90

                    During the Interim Fee Period, in order to facilitate the seamless continuation of
the Debtors’ business operations, Paul Hastings has advised the Debtors on myriad business issues
including, among others, filings with the Securities and Exchange Commission (SEC), including 8-
k’s related to the bankruptcy proceedings, bank accounts, taxes, insurance, employee compensation
and benefit programs, transactions with vendors, royalty and working interest owners, and other
operational issues. Additionally, Paul Hastings prepared organizational documents for the
Reorganized Debtors, rights offering documents to assist with the rights offering and the issuance of
new equity, and other related assistance. Moreover, Paul Hastings assisted the Debtors in
preparations to emerge from chapter 11 prior to the Effective Date of the Plan.

           (m)       Employee Benefits / Pensions (Task Code B220)
                           Fees: $75,561.00            Total Hours: 83.00

                   During the Interim Fee Period, in order to comply with applicable employee-
related programs and ensure the smooth functioning of the Debtors’ operations, Paul Hastings
assisted the Debtors in communications with employees during the chapter 11 process, and advised
the Debtors regarding employee compensation, benefits, and other employment issues.



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           (n)    Financing / Cash Collections (Task Code 230)
                         Fees: $69,029.50            Total Hours: 82.30

                   During the Interim Fee Period, Paul Hastings, with the assistance of the Debtors’
restructuring and financial advisors, reviewed and analyzed the Debtors’ cash flow projections and
financing agreements, and communicated with secured lenders and other parties in interest regarding
the same. Paul Hastings analyzed issues related to secured financing, met with lenders and the
lenders’ advisors, and reviewed and analyzed issues related to the treatment of secured lenders under
the Plan. Paul Hastings further solicited, negotiated, drafted and obtained the Court’s approval of a
motion to permit hedging transactions, and analyzed issues related to the Debtors’ proposed hedging
program.

           (o)    Exit Financing (Task Code 232)
                         Fees: $638,251.50              Total Hours: 863.20

                   During the Interim Fee Period, Paul Hastings, with the assistance of the Debtors’
restructuring and financial advisors, reviewed and analyzed the Debtors’ financing agreements, and
communicated with potential exit facility lenders and other parties in interest regarding the same.
Paul Hastings also drafted, analyzed and reviewed lender term sheets for exit financing, and
managed other issues relating to the exit facility financing, including discussing these issues with
Vanguard’s management.

                  Most importantly, Paul Hastings assisted the Debtors in negotiating the terms of
and memorializing the new exit facility with the lenders and other significant parties in interest.
That process included, among other things:

                        Managing the entire exit facility process, including providing closing
                         checklist and arranging calls with all interested parties and lenders;
                        working with various local counsel nationwide to provide opinions on
                         collateral;
                        Analyzing proposed revisions from various potential lenders;
                        Preparing new first and second lien notes and indentures;
                        Analyzing and arranging the second lien notes exchange process;
                        Preparing corporate documents and resolutions for reorganized entities;
                        Arranging and working with DTC analysts;
                        Drafting opinions and certificates for the secured noteholders;
                        Coordinate Plan and exit facility negotiations for consistency;
                        Prepare the form of mortgages and assist with preparation of mortgages;
                        Negotiating the closing and execution of all relevant documents.

           (p)    Tax Issues (Task Code B240)



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                           Fees: $163,195.00             Total Hours: 142.80

                   During the Interim Fee Period, in order to maximize the preservation of estate
assets, Paul Hastings advised the Debtors and prepared pleadings relating to various tax issues. Paul
Hastings also analyzed various tax structures for the reorganized Debtors in connection with the
formulation of the Debtors’ Plan. As a related work stream, Paul Hastings analyzed and drafted
complex tax disclosures for holders of claims and equity interests for the Debtors’ disclosure
statement.

           (q)     Environmental Issues (Task Code B241)
                          Fees: $8,030.00           Total Hours: 8.40

                  During the Interim Fee Period, Paul Hastings investigated and analyzed potential
environmental claims and liabilities, including with creditor Mallet Ranch, and prepared
memorandum and potential response regarding claim that Vanguard violated CERCLA.

           (r)     Board of Directors Matters (Task Code B260)
                          Fees: $19,291.50            Total Hours: 24.80

                  During the Interim Fee Period, in order to address, among other things, case
strategy and the Debtors’ operations, Paul Hastings devoted time to communications with the
Debtors’ senior management and board members, and prepared for and attended board meetings and
telephonic conferences with the board.

           (s)     Claims Administration and Objections (Task Code B310)
                          Fees: $178,156.00           Total Hours: 251.00

                    During the Interim Fee Period, in order to effectively and efficiently address
claims filed in the chapter 11 cases, Paul Hastings, with the assistance of the Debtors’ restructuring
advisors, reviewed and analyzed initial claims, conducted legal research on potential objections to
claim, reviewed the Debtors’ schedules and statements, and exchanged general correspondence with
numerous parties in interest regarding issues related to filed and scheduled claims. Paul Hastings
also participated in regular telephonic conferences with the Debtors and their restructuring advisors
to coordinate the claims reconciliation process. Paul Hastings also worked with the Debtors and
their restructuring advisors to formulate a strategy for reconciling filed claims. Lastly, Paul Hastings
prepared thirteen omnibus claims objections and orders that were ultimately resolved or sustained by
the Court (with the exception of one claim that remains outstanding).

           (t)     Plan and Disclosure Statement (including Business Plan)
                   (Task Code B320)
                          Fees: $1,820,773.00          Total Hours: 2,292.30

                   A substantial portion of the work performed by Paul Hastings’ professionals
during the Interim Fee Period was dedicated to Vanguard’s efforts to obtain confirmation of the Plan
and substantial consummation of the Plan. To that end, Paul Hastings conferred with the Debtors
and other professionals to formulate and document the Plan and disclosure statement. Paul
Hastings’ activities in this regard included, but were not limited to:


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             preparing, amending and obtaining approval of the Disclosure Statement
              for the Plan;

             drafting and revising solicitation documents, and coordinating the voting
              and balloting efforts in connection with the Plan;

             preparing the amended, second amended, and modified second amended
              chapter 11 plans;

             negotiating terms and provisions of the Plan and Disclosure Statement
              with various Plan support parties;

             negotiating, documenting and incorporating various Plan-related
              settlements reached with various parties, including the first-lien lenders,
              the Committee, the ad hoc equity committee, and Encana;

             responding to numerous discovery requests and defending multiple
              depositions taken by parties in interest in connection with the Plan and
              Disclosure Statement;

             taking discovery and deposing witnesses offered by other parties in
              connection with the confirmation hearing and Disclosure Statement
              hearing;

             analyzing, reviewing and researching Plan confirmation issues;

             preparing, reviewing and revising the Confirmation Order;

             drafting a brief and declarations supporting confirmation of the Plan,
              responding to Plan objections, and researching related issues;

             reviewing and analyzing a variety of complex tax, real estate, corporate,
              and securities law issues related directly to the Plan;

             analyzing numerous solicitation issues and procedures, including issues
              related to the solicitation of the holders of multiple public securities;

             analyzing objections to the Disclosure Statement and drafting an omnibus
              reply thereto;

             negotiating resolutions with various parties who formally and informally
              objected to confirmation of the Plan, including drafting provisions of the
              Confirmation Order to resolve issues and concerns;

             preparing witnesses, exhibits and arguments for the confirmation hearing;


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                              preparing voluminous plan supplement documents and exhibits and
                               amendments thereto, including employment agreements, lists of new
                               directors, contract assumption and rejection list, retained causes of action,
                               warrant agreements, rights offering documents, and other exhibits;

                              assisting the Debtors prepare to emerge from chapter 11 after confirmation
                               pending the effective date;

                   As the list above illustrates, Paul Hastings’ professionals spent considerable time
during the Interim Fee Period engaging in constructive discussions with the Debtors’ stakeholders,
including the Committee, the first lien lenders, the second lien noteholders, and the senior
noteholders to negotiate and document the Plan, the Disclosure Statement, and the plan supplement
documents.

                   Prior to confirmation, numerous parties voiced opposition to aspects of the Plan.
As a result, Paul Hastings represented the Debtors in substantial discovery and related litigation
undertaken by the ad hoc equity committee and other parties in interest. Nevertheless, with Paul
Hastings’ assistance, the Debtors successfully responded to discovery, addressed and resolved the
concerns of each litigating party, and the Plan was ultimately approved by the Court on a consensual
basis.

        30.        The foregoing professional services were necessary and appropriate to the

administration of these cases and were in the best interests of the Debtors, the estates, the creditors,

and other parties in interest. Compensation for such services, as requested, is commensurate with

the complexity, importance, and nature of the problems, issues, and tasks involved.

        31.        The professional services were performed in an expeditious and efficient manner.

Paul Hastings achieved cost efficiencies by utilizing attorneys with (a) extensive experience and

expertise in debt restructuring, corporate finance, oil and gas, tax, and litigation matters, and (b)

familiarity with the Debtors, their business operations, and their debt structure. Paul Hastings

brought to the chapter 11 cases an expertise that inures to the benefit of the Reorganized Debtors and

all parties in interest.

                                    ALLOWANCE OF COMPENSATION

        32.        Under section 330 of the Bankruptcy Code, a bankruptcy court may award to a

professional employed under section 327 of the Bankruptcy Code “reasonable compensation for


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actual, necessary services” rendered by the professional, plus “reimbursement for actual, necessary

expenses.” 11 U.S.C. § 330(a)(1).

        33.        In determining the amount of "reasonable compensation," the Court must consider

the nature, extent, and value of the services, taking into account all the relevant factors, including the

time spent on such services, the rates charged for such services, whether the services were necessary

and beneficial, whether the services were performed in a reasonable amount of time commensurate

with the complexity, importance, and nature of the problem, issue, or task addressed, and whether

the compensation is reasonable based on the customary compensation charged by comparably skilled

practitioners in cases other than cases under the Bankruptcy Code. See 11 U.S.C. § 330(a)(3).

        34.        The Fifth Circuit has long applied the lodestar factors from Johnson v. Georgia

Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974), to assess the reasonableness of attorney fee

determinations under Section 330(a)(l) of the Bankruptcy Code. The Johnson opinion recognized

that factors other than number of hours spent and the hourly rate normally charged may be

considered in fixing the amount of reasonable attorneys' fees to be awarded in a bankruptcy

proceeding. See Johnson, 488 F.2d at 717-20.

        35.        In accordance with the factors enumerated in 11 U.S.C. § 330 and applicable case

law, Paul Hastings respectfully submits that the amount requested herein is fair and reasonable.

   A.         Nature, Novelty, and Complexity of the chapter 11 cases

        36.        As shown in the summary of services above, the Debtors’ financings, asset sales,

and chapter 11 restructuring matters were incredibly complex and intentionally arranged and

documented to meet the Debtors’ needs and support a proposed consensual plan. Paul Hastings

approached the Glasscock Assets sale, the Encana dispute and settlement, the backstop commitment

agreement and equity commitment agreement, matters with the ad hoc equity committee, and




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approval and confirmation of the Plan and Disclosure Statement with thoughtful strategies and

solutions to assist Vanguard in negotiating and achieving a consensual resolution to these cases.

        37.        These matters required Paul Hastings to develop case management and staffing

solutions. The work conducted was carefully assigned to appropriate professionals or

paraprofessionals according to the experience and level of expertise required for each task. Paul

Hastings identified and employed a core group of attorneys who were assigned responsibility for

specific matters and types of matters. This structure (i) allowed certain attorneys to work primarily

on discrete matters within their area of specialization, (ii) allowed the partners and of counsel

involved to cover more substantive matters, and (iii) avoided duplicative or unnecessary work.

   B.         Experience and Value of Paul Hastings' Services

        38.        As set forth in the Retention Application, the Debtors selected Paul Hastings based

on its knowledge of the Debtors’ business and financial affairs, its extensive experience and

knowledge of the legal matters likely to arise in the chapter 11 cases, and, in particular, Paul

Hastings’ recognized expertise in the field of financial restructuring and bankruptcy. Applying this

expertise in the chapter 11 cases allowed the Debtors to maximize the value of the estates and

achieve a nearly consensual reorganization.

        39.        Paul Hastings respectfully submits that its services were, at the time rendered,

believed to be necessary for and beneficial to the Debtors and their estates and were rendered to

protect and preserve the Debtors’ estates during the pendency of the chapter 11 cases. As

demonstrated herein, Paul Hastings spent its time economically and without unnecessary

duplication. The services were performed in an effective and efficient manner commensurate with

the complexity, exigency, and importance of the issues involved. Paul Hastings’ services have

benefited not only the Debtors but also their employees, vendors, customers, and other stakeholders.




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   C.         Comparable Services

        40.       Paul Hastings' rates are consistent with rate structures available to other clients in

non-bankruptcy matters. Additionally, Paul Hastings' rate structure was disclosed in the Retention

Application, which the Court approved. The amounts sought by Paul Hastings are generally

comparable with the rates charged and compensation sought in other chapter 11 cases of similar size,

complexity, and duration. The rates charged by Paul Hastings professionals are also commensurate

with, if not lower than, the rates charged by attorneys in the numerous other energy-sector cases

within this District over the past few years. Accordingly, the cost of comparable services supports

this Application, and the services performed during the chapter 11 cases more than warrant

allowance of the requested compensation.

        41.       Because of the benefits realized by the Debtors, the nature of the chapter 11 cases,

the standing at the bar of the attorneys who rendered services, the amount of work done, the time

consumed, the skill required, and the contingent nature of the compensation, Paul Hastings requests

approval of compensation earned during the Interim Fee Period and the Final Fee Period in the total

amount of $5,388,246.75 and $9,717,525.00, respectively.

                          ACTUAL AND NECESSARY DISBURSEMENTS

        42.       A table identifying each category of expenses incurred and the total amount for

each category is attached hereto as Exhibit D-2. As set forth therein, Paul Hastings incurred a total

of $158,456.05 and $325,540.75 in expenses on behalf of the Debtors during the Interim Fee Period

and the Final Fee Period, respectively. These charges are intended to reimburse Paul Hastings’

direct operating costs, which are not incorporated into the firm’s hourly billing rates. Paul Hastings

charges computer research at the provider's cost without markup. Only clients who actually use

services of the types set forth in Exhibit D-2 are charged for such services. The effect of including

such expenses as part of the hourly billing rates would impose that cost upon clients who do not


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require these services. The actual expenses incurred in providing professional services were

necessary, reasonable, and justified under the circumstances to serve the needs of the Debtors.

                                 COMPLIANCE WITH GUIDELINES

       43.       Paul Hastings believes that this Application, together with the attachments hereto,

substantially complies with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the

Guidelines adopted by the Office of the U.S. Trustee, Bankruptcy Local Rule 2016-1, the Interim

Compensation Order, and the Plan. To the extent this Application does not comply in every respect

with such requirements, Paul Hastings respectfully requests a waiver for any such non-compliance.

                                      RESERVATION OF RIGHTS

       44.       To the extent that time or disbursement charges for services rendered or expenses

incurred relate to the Final Fee Period, but were not processed before the preparation of this

Application, or Paul Hastings has for any other reason not sought compensation or reimbursement

with respect thereto, Paul Hastings reserves the right to request additional compensation for such

services, and reimbursement of such expenses, in a supplemental or future application. Also, Paul

Hastings does not waive, and expressly reserves, its right to respond to any objections regarding this

Application and the amounts sought for Paul Hastings’ work in the chapter 11 cases.

                                          NO PRIOR REQUEST

       45.       No previous request for the relief sought herein has been made to this Court or any

other court.

                                                  NOTICE

       46.       Notice of this Application has been provided by email, facsimile, or overnight

courier to: (a) the U.S. Trustee; (b) counsel for the Creditors' Committee; (c) all other parties on the

Master Service List; and (d) those persons entitled to notice of this Application pursuant to the Interim




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Compensation Order. Paul Hastings submits that, in light of the nature of the relief requested, no other

or further notice need be given.

                                              CONCLUSION

       WHEREFORE, Paul Hastings respectfully requests entry of a final order substantially in the

form attached hereto as Schedule 4 (a) allowing compensation for professional services rendered

during the Final Fee Period in the amount of $9,717,525.00 (which includes fees of $5,388,246.75

incurred during the Interim Fee Period), and reimbursement of actual and necessary expenses

incurred during the Final Fee Period in the amount of $325,540.75 (which includes expenses of

$158,456.05 incurred during the Interim Fee Period), for a total of $10,043,065.75; (b) authorizing

application of the advance payment to amounts allowed pursuant to this Application; (c) authorizing

and directing the Debtors’ payment of the difference between the amounts allowed and the sum of

the advance payment and amounts previously paid by the Debtors to Paul Hastings pursuant to the

Interim Compensation Order; (d) allowing such compensation for professional services rendered and

reimbursement of actual and necessary expenses incurred be without prejudice to Paul Hastings’

right to seek such further compensation for the full value of services performed and expenses

incurred; and (e) granting Paul Hastings such other and further relief as is just.



                                   [Remainder of page intentionally blank]




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Dated: September 29, 2017          Respectfully Submitted,

                                   /s/ James T. Grogan III                      .
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                                   - and –

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                                   Danny Newman (Tex. Bar No. 24092896)
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                                   Counsel to Vanguard




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                                                              EXHIBIT A

            CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES WITH FEE APPLICATIONS
                          (See Guidelines ¶ C.3. for definitions of terms used in this Exhibit.)

The blended hourly rate for Paul Hastings domestic timekeepers who billed to non-bankruptcy matters (collectively, the “Non-
Bankruptcy Matters”)1 during the twelve-month period beginning on August 1, 2016 and ending on July 31, 2017 was, in the
aggregate, approximately $754 per hour (the “Non-Bankruptcy Blended Hourly Rate”). The blended hourly rate for Paul Hastings’
timekeepers in the chapter 11 cases during the Interim Fee Period was approximately $744 per hour (the “Debtor Blended Hourly
Rate”). A detailed comparison of these rates follows:

                                                                                BLENDED HOURLY RATE
            CATEGORY OF TIMEKEEPER                                 NON-BANKRUPTCY                       DEBTOR BLENDED
    (using categories already maintained by the firm)            BLENDED HOURLY RATE                     HOURLY RATE
Partner                                                                       $975                               $985
Counsel                                                                       $924                               $924
Associate                                                                     $647                               $659
Paraprofessionals                                                             $309                               $348
All timekeepers aggregated                                                    $754                               $744
Case Name: In re Vanguard Natural Resources, LLC, et al.
Case Number: 17-30560 (MI), Jointly Administered
Applicant’s Name: Paul Hastings LLP
Date of Application: September 30, 2017
Interim or Final: Second Interim and Final

1
  It is the nature of Paul Hastings’ practice that certain non-bankruptcy engagements require the advice and counsel of professionals and
paraprofessionals who work primarily within Paul Hastings’ restructuring group. Accordingly, the Non-Bankruptcy Matters consist of
matters for which Paul Hastings’ timekeepers represented a client in matters other than court-approved engagements as counsel retained in
accordance with section 327(a) or 327(e) of the Bankruptcy Code. As such, the Non-Bankruptcy Matters include, in part, time billed by
Paul Hastings’ timekeepers who work primarily within Paul Hastings’ restructuring group.
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                                                                EXHIBIT B

             SUMMARY OF TIMEKEEPERS INCLUDED IN THIS APPLICATION FOR INTERIM FEE PERIOD

        Name          Title or   Department,        Date of    Fees Billed in     Hours                 Hourly Rate Billed                Number
                      Position    Group, or          First          this         Billed in                                                of Rate
                                   Section         Admission    Application        this                                                  Increases
                                                                                Application                                                Since
                                                                                                                                           Case
                                                                                                                                         Inception
                                                                                              In this Application   In First Interim
                                                                                                                      Application
Michael L. Zuppone   Partner     Corporate           1989          $2,205.00           1.80               $1,225                 N/A             0
David A. Hearth      Partner     Corporate           1987            $240.00           0.20               $1,200                 N/A             0
Kevin C. Logue       Partner     Litigation          1985          $1,057.50           0.90               $1,175                 N/A             0
Gregory V. Nelson    Partner     Tax                 1981        $173,995.00         151.30               $1,150               $1,150            0
Thomas R. Mounteer   Partner     Real Estate         1986          $8,030.00           7.30               $1,100                 N/A             0
Alan W. Weakland     Partner     Real Estate         1983          $1,100.00           1.00               $1,100                 N/A             0
James R. Bliss       Partner     Litigation          1995         $52,140.00          47.40               $1,100               $1,100            0
Grace A. Carter      Partner     Litigation          1981          $1,430.00           1.30               $1,100                 N/A             0
Chris L. Dickerson   Partner     Corporate           1998        $384,930.00         366.60               $1,050               $1,050            0
                                                                                               $525 (non-working    $525 (non-working
Chris L. Dickerson   Partner     Corporate           1998          $7,350.00          14.00               travel)              travel)           0
Yariv Katz           Partner     Corporate           2002         $12,075.00          11.50               $1,050                 N/A             0
Kevin P. Broughel    Partner     Litigation          2003        $279,400.00         279.40               $1,000               $1,000            0
                                                                                               $500 (non-working    $500 (non-working
Kevin P. Broughel    Partner     Litigation          2003         $29,250.00          58.50               travel)              travel)           0
Douglas V. Getten    Partner     Corporate           2006        $316,387.50         324.50                 $975                 $975            0
Lindsay R. Sparks    Partner     Corporate           2001        $157,712.50         170.50                 $925                 $925            0
                                  Total Partner:               $1,427,302.50       1,436.20
J. Mark Poerio       Counsel     Employment          1985         $30,825.00          27.40               $1,125               $1,125            0
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Wendell M. Faria       Counsel     Corporate         1995      $9,350.00       8.50            $1,100              N/A
Will Burns             Counsel     Corporate         2007      $8,610.00       8.20            $1,050              N/A     0
Jacqueline (Jackie)
                                                                                               $1,050              N/A
May                    Counsel     Corporate         1988     $14,070.00      13.40                                        0
Michael E. Comerford   Counsel     Corporate         2003    $425,362.50     427.50              $995              $995    0
                                                                                        $497.50 (non-     $497.50 (non-
Michael E. Comerford   Counsel     Corporate         2003      $6,716.25      13.50    working travel)   working travel)   0
James T. Grogan        Counsel     Corporate         2000    $596,070.00     662.30              $900              $900    0
Alex Bongartz          Counsel     Corporate         2007        $595.00       0.70              $850              N/A     0
Katherine A. Traxler   Counsel     Corporate         1990     $20,400.00      27.20              $750              $750    0
                                    Total Counsel:          $1,111,998.75   1,188.70
Todd M. Schwartz       Associate   Corporate         2007     $63,540.00      70.60              $900              $900    0
Jason C. Ewart         Associate   Corporate         2008     $85,225.00      97.40              $875              $875    0
Alex Bongartz          Associate   Corporate         2007    $158,100.00     186.00              $850              $850    0
Jamie Suzanne Curry    Associate   Real Estate       2011     $34,155.00      41.40              $825              N/A     0
Suparna Salil          Associate   Corporate         2010      $7,425.00       9.00              $825              $825    0
Brendan Gage           Associate   Corporate         2011    $371,380.00     479.20              $775              $775    0
Brian J. Carter        Associate   Corporate         2011     $85,947.50     110.90              $775              $775    0
Emily L. Seymore       Associate   Litigation        2011     $19,995.00      25.80              $775              N/A     0
Emmanuel Gastard       Associate   Litigation        2012      $8,447.50      10.90              $775              $775    0
Isaac E. Griesbaum     Associate   Corporate         2011    $200,105.00     258.20              $775              $775    0
Jessica Oliva          Associate   Litigation        2012    $133,532.50     172.30              $775              $775    0
Kelly Padgett          Associate   Corporate         2011     $27,047.50      34.90              $775              N/A     0
Melissa Fishkin        Associate   Corporate         2012     $71,222.50      91.90              $775              N/A     0
Laura Bertilotti       Associate   Corporate         2013     $82,908.00     112.80              $735              $735    0
David M.                                                                                                                   0
Morduchowitz           Associate   Litigation        2013     $13,905.00      20.60              $675              $675
Madeline H. Kwong      Associate   Litigation        2014      $6,075.00       9.00              $675              $675    0
William H. Prokop      Associate   Real Estate       2014     $79,396.50     129.10              $615              N/A     0
William J. Son         Associate   Real Estate       2014     $11,992.50      19.50              $615              N/A     0


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Paula Kim             Associate   Real Estate         2015      $8,794.50      14.30                 $615                 N/A     0
Daniel M. Leibowitz   Associate   Real Estate         2015        $676.50       1.10                 $615                  N/A    0
Michael Lin           Associate   Corporate           2014     $15,621.00      25.40                 $615                 N/A     0
Daniel F. Newman      Associate   Litigation          2014    $422,566.50     687.10                 $615                 $615    0
Daniel Faichney       Associate   Corporate           2014     $58,117.50      94.50                 $615                 $615    0
David P. Stanek       Associate   Real Estate         2012      $2,460.00       4.00                 $615                 $615    0
Douglass E. Barron    Associate   Corporate           2012    $132,225.00     215.00                 $615                 $615    0
Shlomo Maza           Associate   Corporate           2012     $14,637.00      23.80                 $615                 $615    0
Alexander K. Ehmke    Associate   Litigation          N/A       $4,785.00       8.70                 $550                  $50    0
Jessica R. Montes     Associate   Litigation          2016      $3,355.00       6.10                 $550                 $550    0
Matthew D. Turner     Associate   Corporate           2015    $281,985.00     512.70                 $550                 $550    0
Michael C. Whalen     Associate   Litigation          2015    $217,800.00     396.00                 $550                 $550    0
                                                                                        $275 (non-working    $275 (non-working
Michael C. Whalen     Associate   Litigation          2015      $7,672.50      27.90               travel)              travel)   0
Samara M. Shepherd    Associate   Corporate           2015        $275.00       0.50                 $550                 $550    0
Edward B. Seeger      Associate   Corporate           2015     $24,695.00      44.90                 $550                 N/A     0
Geoffrey Zee          Associate   Real Estate         2015     $13,475.00      24.50                 $550                 N/A     0
Daniel J. Miles       Associate   Corporate           2016        $445.50       0.90                 $495                 $495    0
David U. Sayet        Associate   Corporate           2016     $39,303.00      79.40                 $495                 $495    0
Jordan B. Johnson     Associate   Litigation          N/A       $2,623.50       5.30                 $495                 N/A     0
Bianca Lee            Associate   Corporate           2017      $2,425.50       4.90                 $495                 N/A     0

Jamie L. Tran         Associate   Real Estate         2016      $9,553.50      19.30                 $495                  N/A    0
Kristen M. Moran      Associate   Real Estate         2016        $396.00       0.80                 $495                 N/A     0
                                   Total Associate:          $2,724,287.00   4,076.60
                      Project
Jon S. Montgomery     Manager                                  $20,540.00      52.00                 $395                 N/A     0
Jocelyn Kuo           Paralegal                                $61,161.00     165.30                 $370                 $370    0
Manel Wijemanne       Paralegal                                $20,825.00      59.50                 $350                 $350    0
Niles Rath            Project                                  $13,601.00      40.60                 $335                 $335    0



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                             Manager
Patricia L. Easley           Paralegal                                $72,963.00     221.10                 $330       $330    0
                                                                                               $165 (non-working
Patricia L. Easley           Paralegal                                   $330.00       2.00               travel)       N/A    0
Irene Chang                  Librarian                                   $188.00       0.80                 $235        N/A    0
Yael Hopkovitz               Librarian                                    $67.50       0.30                 $225        N/A    0
                             Project
Xavier Paredes               Specialist                                  $215.00       1.00                 $215       $215    0
                             Senior
Mayra O. Lopez               Analyst                                      $64.50       0.30                 $215        N/A    0
                             Property
Craig N. Richey              Analyst                                     $390.00       2.00                 $195        N/A    0
                                          Total Paraprofessional:    $190,345.00     544.90
                 Subtotal:                                          $5,453,933.25   7,246.40
                 Less Voluntary Fee Reduction:                       ($65,686.50)
                 Grand Total:                                       $5,388,246.75   7,246.40
                 Blended Rate:                                                                                      $743.581
                 Blended Rate Excluding Paraprofessionals:                                                          $775.771



Case Name: In re Vanguard Natural Resources, LLC, et al.
Case Number: 17-30560 (MI), Jointly Administered
Applicant’s Name: Paul Hastings LLP
Date of Application: September 30, 2017
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    The blended rate reflects the voluntarily reduced fees divided by the total hours billed.



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                 SUMMARY OF TIMEKEEPERS INCLUDED IN THIS APPLICATION FOR FINAL FEE PERIOD

        Name            Title or   Department     Date of    Fees Billed in     Hours                 Hourly Rate Billed                Number
                        Position   , Group, or     First          this         Billed in                                                of Rate
                                     Section     Admission    Application        this                                                  Increases
                                                                              Application                                                Since
                                                                                                                                         Case
                                                                                                                                       Inception
                                                                                            In this Application   In First Interim
                                                                                                                    Application
Michael L. Zuppone     Partner     Corporate         1989         $2,205.00          1.80               $1,225                 N/A             0
David A. Hearth        Partner     Corporate         1987           $240.00          0.20               $1,200                 N/A             0
Kevin C. Logue         Partner     Litigation        1985         $1,057.50          0.90               $1,175                 N/A             0
Gregory V. Nelson      Partner     Tax               1981       $334,650.00        291.00               $1,150               $1,150            0
Thomas R. Mounteer     Partner     Real Estate       1986         $8,030.00          7.30               $1,100                 N/A             0
Alan W. Weakland       Partner     Real Estate       1983         $1,100.00          1.00               $1,100                 N/A             0
James R. Bliss         Partner     Litigation        1995       $238,920.00        217.20               $1,100               $1,100            0
Grace A. Carter        Partner     Litigation        1981         $1,430.00          1.30               $1,100                 N/A             0
Chris L. Dickerson     Partner     Corporate         1998       $760,725.00        724.50               $1,050               $1,050            0
                                                                                             $525 (non-working    $525 (non-working
Chris L. Dickerson     Partner     Corporate         1998        $19,897.50         37.90               travel)              travel)           0
Yariv Katz             Partner     Corporate         2002        $12,075.00         11.50               $1,050                 N/A             0
Bradley V. Ritter      Partner     Real Estate       1991         $3,997.50          3.90               $1,025               $1,025            0
Kevin P. Broughel      Partner     Litigation        2003       $383,600.00        383.60               $1,000               $1,000            0
                                                                                             $500 (non-working    $500 (non-working
Kevin P. Broughel      Partner     Litigation        2003        $34,150.00         68.30               travel)              travel)           0
Douglas V. Getten      Partner     Corporate         2006       $512,070.00        525.20                 $975                 $975            0
Lindsay R. Sparks      Partner     Corporate         2001       $188,792.50        204.10                 $925                 $925            0
                                    Total Partner:            $2,502,940.00      2,479.70
J. Mark Poerio         Counsel     Employment        1985        $47,250.00         42.00               $1,125               $1,125            0
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Wendell M. Faria          Counsel     Corporate         1995      $9,350.00       8.50               $1,100                 N/A     0
Will Burns                Counsel     Corporate         2007      $8,610.00       8.20               $1,050                 N/A     0
Jacqueline (Jackie) May   Counsel     Corporate         1988     $14,070.00      13.40               $1,050                 N/A     0
Michael E. Comerford      Counsel     Corporate         2003    $654,312.00     657.60                 $995                 $995    0
                                                                                              $497.50 (non-
                                                                                                                             N/A
Michael E. Comerford      Counsel     Corporate         2003      $6,716.25      13.50       working travel)                        0
James T. Grogan           Counsel     Corporate         2000   $1,237,950.00   1,375.50                $900                 $900    0
Alex Bongartz             Counsel     Corporate         2007        $595.00        0.70                $850                  N/A    0
Katherine A. Traxler      Counsel     Corporate         1990     $33,600.00      44.80                 $750                 $750    0
                                       Total Counsel:          $2,012,453.25   2,164.20
Todd M. Schwartz          Associate   Corporate         2007    $274,680.00     305.20                 $900                 $900    0
                                                                                          $450 (non-working    $450 (non-working
Todd M. Schwartz          Associate   Corporate         2007      $9,360.00      20.80               travel)              travel)   0
Jason C. Ewart            Associate   Corporate         2008     $86,537.50      98.90                 $875                 $875    0
Kim R. Hicks              Associate   Corporate         2009     $48,562.50      55.50                 $875                 $875    0
Alex Bongartz             Associate   Corporate         2007    $499,290.00     587.40                 $850                 $850    0
                                                                                          $425 (non-working    $425 (non-working
Alex Bongartz             Associate   Corporate         2007      $9,350.00      22.00               travel)              travel)   0
Jamie Suzanne Curry       Associate   Real Estate       2011     $34,155.00      41.40                 $825                  N/A    0
Suparna Salil             Associate   Corporate         2010     $28,462.50      34.50                 $825                 $825    0
Brendan Gage              Associate   Corporate         2011    $715,557.50     923.30                 $775                 $775    0
Brian J. Carter           Associate   Corporate         2011    $107,027.50     138.10                 $775                 $775    0
Emily L. Seymore          Associate   Litigation        2011     $19,995.00      25.80                 $775                 N/A     0
Emmanuel Gastard          Associate   Litigation        2012     $16,662.50      21.50                 $775                 $775    0
Isaac E. Griesbaum        Associate   Corporate         2011    $440,277.50     568.10                 $775                 $775    0
Jessica Oliva             Associate   Litigation        2012    $180,187.50     232.50                 $775                 $775    0
Kelly Padgett             Associate   Corporate         2011     $27,047.50      34.90                 $775                 N/A     0
Melissa B. Fishkin        Associate   Corporate         2012     $71,222.50      91.90                 $775                 N/A     0
Laura Bertilotti          Associate   Corporate         2013     $87,685.50     119.30                 $735                 $735    0
David M.                  Associate   Litigation        2013     $15,525.00      23.00                 $675                 $675    0


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Morduchowitz
Madeline H. Kwong     Associate   Litigation    2014    $19,980.00     29.60                 $675              $675    0
William H. Prokop     Associate   Real Estate   2014    $79,396.50    129.10                 $615              N/A     0
William J. Son        Associate   Real Estate   2014    $11,992.50     19.50                 $615              N/A     0
Paula Kim             Associate   Real Estate   2015     $8,794.50     14.30                 $615              N/A     0
Daniel M. Liebowitz   Associate   Real Estate   2015      $676.50       1.10                 $615              N/A     0
Michael Lin           Associate   Corporate     2014    $15,621.00     25.40                 $615              N/A     0
Daniel F. Newman      Associate   Litigation    2014   $841,873.50   1,368.90                $615              $615    0
                                                                                    $307.50 (non-     $307.50 (non-
Daniel F. Newman      Associate   Litigation    2014      $369.00       1.20       working travel)   working travel)   0
Daniel Faichney       Associate   Corporate     2014   $147,784.50    240.30                 $615              $615    0
David P. Stanek       Associate   Real Estate   2012     $3,874.50      6.30                 $615              $615    0
Douglass E. Barron    Associate   Corporate     2012   $363,034.50    590.30                 $615              $615    0
Shlomo Maza           Associate   Corporate     2012    $21,525.00     35.00                 $615              $615    0
Alexander K. Ehmke    Associate   Litigation    N/A     $17,380.00     31.60                 $550              $550    0
Jessica R. Montes     Associate   Litigation    2016    $19,140.00     34.80                 $550              $550    0
Matthew D. Turner     Associate   Corporate     2015   $370,040.00    672.80                 $550              $550    0
Michael C. Whalen     Associate   Litigation    2015   $307,340.00    558.80                 $550              $550    0
                                                                                $275 (non-working
Michael C. Whalen     Associate   Litigation    2015     $7,672.50     27.90               travel)             N/A     0
Samara M. Shepherd    Associate   Corporate     2015     $7,370.00     13.40                 $550              $550    0
Edward B. Seeger      Associate   Corporate     2015    $24,695.00     44.90                 $550              N/A     0
Geoffrey Zee          Associate   Real Estate   2015    $13,475.00     24.50                 $550              N/A     0
Daniel J. Miles       Associate   Corporate     2016     $4,356.00      8.80                 $495              $495    0
Danielle E. Glazer    Associate   Corporate     2016     $7,920.00     16.00                 $495              $495    0
                                                                                    $247.50 (non-     $247.50 (non-
Danielle E. Glazer    Associate   Corporate     2016     $1,856.25      7.50       working travel)   working travel)   0
David U. Sayet        Associate   Corporate     2016    $41,431.50     83.70                 $495              $495    0
Jordan B. Johnson     Associate   Litigation    N/A      $2,623.50      5.30                 $495              N/A     0
Neil R. Patel         Associate   Corporate     2016      $247.50       0.50                 $495              $495    0



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Samuel J. Domjen     Associate    Corporate           2016     $26,878.50      54.30                 $495    $495   0
Bianca Lee           Associate    Corporate           2017      $2,425.50       4.90                 $495    N/A    0
Jamie L. Tran        Associate    Real Estate         2016      $9,553.50      19.30                 $495    N/A    0
Kristen M. Moran     Associate    Real Estate         2016        $396.00       0.80                 $495    N/A    0
                                   Total Associate:          $5,051,308.25   7,414.90
                     Property
                     Analyst
G. Norman Carnahan   Specialist                                 $4,606.50       8.30                 $555    $555   0
Rosetta S. Kromer    Paralegal                                  $2,133.00       5.40                 $395    $395   0
                     Project
Jon S. Montgomery    Manager                                   $20,540.00      52.00                 $395    N/A    0
Jocelyn Kuo          Paralegal                                $121,286.00     327.80                 $370    $370   0
Manel Wijemanne      Paralegal                                 $40,775.00     116.50                 $350    $350   0
                     Project
Miguel L. Checo      Manager                                      $167.50       0.50                 $335    $335   0
                     Project
Niles Rath           Manager                                   $18,626.00      55.60                 $335    $335   0
Patricia L. Easley   Paralegal                                 $75,042.00     227.40                 $330    $330   0
                                                                                        $165 (non-working
Patricia L. Easley   Paralegal                                    $330.00       2.00               travel)   N/A    0
Elizabeth Elliott    Librarian                                    $357.50       1.30                 $275    $275   0
Irene Chang          Librarian                                    $188.00       0.80                 $235    N/A    0
Javii D. Austin      Librarian                                    $382.50       1.70                 $225    $225   0
Yael Hopkovitz       Librarian                                     $67.50       0.30                 $225    N/A    0
                     Project
Xavier Paredes       Specialist                                   $279.50       1.30                 $215    $215   0
                     Senior
Mayra O. Lopez       Analyst                                       $64.50       0.30                 $215    N/A    0
                     Property
Craig N. Richey      Analyst                                      $390.00       2.00                 $195    N/A    0
                     Research
Heather R. O’Dea     Assistant                                     $70.00       0.50                 $140    $140   0


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                                     Total Paraprofessional:     $285,305.50       803.70
              Subtotal:                                         $9,852,007.00   12,862.50
              Less Voluntary Fee Reduction:                     ($134,482.00)
              Grand Total:                                      $9,717,525.00   12,862.50
              Blended Rate:                                                                     $755.491
              Blended Rate Excluding Paraprofessionals:                                         $782.701



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    The blended rate reflects the voluntarily reduced fees divided by the total hours billed.



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SUMMARY OF COMPENSATION REQUESTED BY PROJECT CATEGORY
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     SUMMARY OF COMPENSATION REQUESTED BY PROJECT CATEGORY
                     FOR INTERIM FEE PERIOD

                         Project Category                      Hours Billed    Fees Sought
B110 Case Administration                                             139.00      $99,462.50
B112 General Creditor Inquiries                                         0.90        $553.50
B113 Pleadings Review                                                 47.30      $27,832.50
B130 Asset Disposition                                               466.10     $356,104.00
B140 Relief from Stay / Adequate Protection Proceedings               51.40      $38,258.00
B150 Meetings of and Communications with Creditors                      8.20      $4,260.50
B155 Court Hearings                                                  455.20     $276,173.50
B160 Employment / Fee Applications (Paul Hastings and Other          172.60     $113,030.00
     Professionals)
B181 Preference Analysis and Recovery Actions                           8.90      $5,473.50
B185 Assumption / Rejection of Leases and Contracts                   32.90      $26,434.50
B190 Other Contested Matters                                        1,235.70    $910,333.00
B195 Non-Working Travel                                              115.90      $51,318.75
B210 Business Operations                                             759.90     $503,555.50
B211 Financial Reports (Monthly Operating Reports)                      4.60      $3,169.50
B220 Employee Benefits / Pensions                                     83.00      $75,561.00
B230 Financing / Cash Collections                                     82.30      $69,029.50
B232 Exit Financing                                                  863.20     $638,251.50
B240 Tax Issues                                                      142.80     $163,195.00
B241 Environmental Issues                                               8.40      $8,030.00
B260 Board of Directors Matters                                       24.80      $19,291.50
B310 Claims Administration and Objections                            251.00     $178,156.00
B320 Plan and Disclosure Statement (including Business Plan)        2,292.30   $1,820,773.00
TOTAL                                                               7,246.40   $5,388,246.75

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SUMMARY OF COMPENSATION REQUESTED BY PROJECT CATEGORY
                    FOR FINAL FEE PERIOD

                          Project Category                     Hours Billed    Fees Sought
B110 Case Administration                                             481.60     $341,100.50
B111 Schedules and Statements of Financial Affairs                    42.30      $32,128.50
B112 General Creditor Inquiries                                         6.10      $4,138.50
B113 Pleadings Review                                                127.10      $69,602.00
B130 Asset Disposition                                              1,143.60    $893,503.50
B140 Relief from Stay / Adequate Protection Proceedings              268.70     $180,277.50
B150 Meetings of and Communications with Creditors                    71.00      $56,550.50
B155 Court Hearings                                                  815.70     $544,988.50
B160 Employment / Fee Applications (Paul Hastings and Other          258.90     $169,544.00
     Professionals)
B161 Budgeting (Case)                                                   4.20        $781.50
B181 Preference Analysis and Recovery Actions                           8.90      $5,473.50
B185 Assumption / Rejection of Leases and Contracts                  658.80     $542,769.50
B190 Other Contested Matters                                        1,761.20   $1,297,335.50
B191 General Litigation                                               17.70      $12,413.00
B195 Non-Working Travel                                              205.60      $93,751.50
B210 Business Operations                                            1,067.00    $716,736.50
B211 Financial Reports (Monthly Operating Reports)                    30.40      $21,783.00
B220 Employee Benefits / Pensions                                    120.90     $105,992.50
B230 Financing / Cash Collections                                    225.90     $180,577.00
B232 Exit Financing                                                  888.90     $654,001.50
B240 Tax Issues                                                      244.30     $279,215.00
B241 Environmental Issues                                               8.40      $8,030.00
B260 Board of Directors Matters                                       39.10      $33,198.00
B310 Claims Administration and Objections                            344.30     $238,796.50
B311 Reclamation and PACA Claims                                        6.20      $3,882.00
B320 Plan and Disclosure Statement (including Business Plan)        4,015.70   $3,230,955.00
TOTAL                                                             12,862.50    $9,717,525.00




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Applicant’s Name: Paul Hastings LLP
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                           EXHIBIT D-2


                       EXPENSE SUMMARY
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    SUMMARY OF EXPENSE REIMBURSEMENT REQUESTED BY CATEGORY
                   FOR THE INTERIM FEE PERIOD

 CATEGORY                                                            AMOUNT
 Airfare                                                               $10,043.80
 Lodging                                                                $4,854.28
 Meals                                                                  $4,249.41
 Travel Expense – Internet                                                $33.45
 Travel Expense – Parking                                                $421.00
 Taxi / Ground Transportation                                           $1,794.09
 Certified Copies of Documents                                          $4,221.92
 Computer Search                                                       $71,299.04
 Conference calls – Domestic                                             $353.37
 Courier Service                                                        $1,323.82
 Court Reporting Services                                              $11,178.22
 Database Storage                                                        $148.20
 Filing Fees                                                              $10.00
 In-house Reproduction Charges ($.08 per page for black and white)      $3,417.60
 Outside Printing and Photocopy                                         $6,687.54
 Outside Professional Services                                         $38,180.43
 Secretarial Assistance                                                   $35.00
 Postage / Express Mail                                                     $1.39
 Materials for Court                                                     $203.49
 TOTAL                                                                $158,456.05


Case Name: In re Vanguard Natural Resources, LLC, et al.
Case Number: 17-30560 (MI), Jointly Administered
Applicant’s Name: Paul Hastings LLP
Date of Application: September 30, 2017
Interim or Final: Second Interim and Final
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SUMMARY OF EXPENSE REIMBURSEMENT REQUESTED BY CATEGORY
                   FOR THE FINAL FEE PERIOD

 CATEGORY                                                            AMOUNT
 Airfare                                                               $22,060.95
 Lodging                                                               $13,123.68
 Meals                                                                  $5,875.02
 Travel Expense – Internet                                               $169.29
 Travel Expense – Parking                                                $910.50
 Taxi / Ground Transportation                                           $4,099.95
 Certified Copies of Documents                                          $4,221.92
 Computer Search                                                      $190,822.05
 Conference calls – Domestic                                             $410.79
 Courier Service                                                        $1,964.41
 Court Reporting Services                                              $12,072.87
 Court Fee                                                                $31.00
 Database Storage                                                        $148.20
 Filing Fees                                                              $10.00
 In-house Reproduction Charges ($.08 per page for black and white)      $4,246.48
 In-house Reproduction Charges – Color ($.50 per page for color)        $1,311.50
 Outside Printing and Photocopy                                        $15,002.42
 Outside Professional Services                                         $48,680.74
 Secretarial Assistance                                                   $35.00
 Postage / Express Mail                                                     $5.27
 Materials for Court                                                     $338.71
 TOTAL                                                                $325,540.75

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                                            EXHIBIT E

                    SUMMARY COVER SHEET OF FEE APPLICATION

Name of applicant:                                                 Paul Hastings LLP
Name of client:                                                    Vanguard Natural Resources,
                                                                   LLC, et al.
Interim period covered by this Application:                        May 1, 2017 through and
                                                                   including August 1, 2017 (the
                                                                   “Interim Fee Period”)
Final period covered by this Application:                          February 1, 2017 through and
                                                                   including August l, 2017 (the
                                                                   “Final Fee Period”)
Total compensation sought this Interim Fee Period:                 $5,388,246.751
Total expenses sought this Interim Fee Period:                     $158,456.05
Petition date:                                                     February 1, 2017
Retention date:                                                    February 1, 2017
Date of order approving employment:                                March 1, 2017 nunc pro tunc
                                                                   February 1, 2017 [Docket No.
                                                                   281]
Total compensation approved by interim order to date:              $4,329,278.25
Total expenses approved by interim order to date:                  $167,084.70
Total allowed compensation paid to date:                           $4,329,278.25
Total allowed expenses paid to date:                               $167,084.70
Blended rate in this Application for all attorneys for Interim     $7762
Fee Period and Final Fee Period, respectively:                     $7832
Blended rate in this Application for all timekeepers for           $7442
Interim Fee Period and Final Fee Period, respectively:             $7552
Interim compensation sought in this Application already paid       $925,844.44
pursuant to a monthly compensation order but not yet
allowed:
Interim expenses sought in this Application already paid           $74,155.91

1
  As a courtesy to the Debtors, Paul Hastings voluntarily reduced its fees by $65,686.50 during
the Interim Fee Period. The time billed by these timekeepers was reasonable, and Paul Hastings
reserves the right to seek payment of these fees based on the facts and circumstances of these
cases, including, without limitation, if objections are interposed to the allowance of Paul
Hastings’ fees and expenses.
2
    The blended hourly rate reflects the voluntarily reduced fees divided by the total hours billed.
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pursuant to a monthly compensation order but not yet
allowed:
Number of professionals included in this Application for         60, including 16 professionals
Interim Fee Period:                                              whose fees Paul Hastings
                                                                 voluntarily waived in full, and an
                                                                 additional 10 professionals
                                                                 whose fees were waived in part
If applicable, number of professionals in this Application not   N/A
included in staffing plan approved by client:
If applicable, difference between fees budgeted and              N/A
compensation sought for this period:
Number of professionals billing fewer than 15 hours to the       24, including 16 professionals
case during the Interim Fee Period:                              whose fees Paul Hastings
                                                                 voluntarily waived in full
Are any rates higher than those approved or disclosed at         No
retention? If yes, calculate and disclose the total
compensation sought in this Application using the rates
originally disclosed in the retention application:


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Interim or Final: Second Interim and Final




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